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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 1:25-cv-23182


   C.M., et al.,

                                   Plaintiffs,

           v.

   Kristi Noem, Secretary of the United States Department
   of Homeland Security, in her official capacity, et al.,

                                   Defendants.


        [PROPOSED] TEMPORARY RESTRAINING ORDER AND PRELIMINARY
                              INJUNCTION
          Upon consideration of Plaintiffs’ motion for a temporary restraining order and preliminary

  injunction, and any opposition, reply, and further pleadings and argument thereto;

          Having determined that Detained Plaintiffs C.M., Michael Borrego Fernandez, J.M.C., and

  E.R., and the class are likely to succeed on the merits of their claims under the First Amendment

  and the Due Process Clause of the Fifth Amendment, and that Organizational Plaintiffs Florida

  Keys Immigration Law, Law Offices of Catherine Perez PLLC, Sanctuary of the South, and U.S.

  Immigration Law Counsel are likely to succeed on the merits of their claim under the First

  Amendment, that Plaintiffs will suffer irreparable injury in the absence of injunctive relief, and

  that the balance of hardships and public interest favor relief, it is, therefore,

          ORDERED that Plaintiffs’ Motion for Temporary Restraining Order and Preliminary

  Injunction is hereby GRANTED.
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         ORDERED that Defendants Noem, DHS, Lyons, ICE, and Ripa (“DHS Defendants”) and

  Defendants DeSantis, Green, Guthrie, and FDEM (“Florida Defendants”), their agents,

  representatives, and all persons or entities acting in concert with them are hereby:

         1. ORDERED, pending further order of this Court, to provide scheduled, timely, free,

             confidential, and unmonitored legal telephone and/or videoconference calls to all those

             who are or will be detained at Alligator Alcatraz;

         2. ORDERED, pending further order of this Court, to provide sufficient private,

             confidential in-person visitation spaces to conduct timely in-person legal visits to all

             those who are or will be detained at Alligator Alcatraz;

         3. ORDERED, pending further order of this Court, to provide a method for all those who

             are or will be detained at Alligator Alcatraz to place timely, free, confidential, and

             unmonitored outgoing legal calls;

         4. ORDERED, pending further order of this Court, to provide all those who are or will be

             detained at Alligator Alcatraz with a method for timely and confidential document

             exchange;

         5. ORDERED, pending further order of this Court, to provide written information

             regarding protocols for attorney-client communication in English, Spanish, and Haitian

             Creole to all people detained by Defendants at Alligator Alcatraz;

         6. ORDERED, pending further order of this Court, to make publicly available information

             regarding protocols for attorney-client communication at Alligator Alcatraz via in-

             person meeting, telephone, videoconference, fax, email, mail, and/or courier service,

             via Defendant Immigration and Customs Enforcement and/or State of Florida websites,
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             and to provide this information to all those who are or will be detained at Alligator

             Alcatraz.

         ORDERED that DHS Defendants, their agents, representatives, and all persons or entities

  acting in concert with them are hereby:

         7. ORDERED, pending further order of this Court, to accurately update the location of

             detainees held at Alligator Alcatraz in Defendant Immigration and Customs

             Enforcement’s Online Detainee Locator System within 24 hours of their transfer to the

             facility;

  It is further ORDERED that Plaintiffs shall not be required to furnish security for costs.



  Entered on ___________, 2025.


                                                       _____________________________
                                                       United States District Court Judge
